Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20          PageID.1   Page 1 of 31




                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

ANDERSEN & ASSOCIATES, INC.,
d/b/a ANDERSEN MATERIAL HANDLING,
a Michigan Corporation,

              Plaintiff,

v.

SCOTT WERNER,

              Defendant.

______________________________________________________________________________

                             NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441(b) and

1446, the above-captioned action, which is currently pending in the Circuit Court for

Oakland County, Michigan, is hereby removed by Defendant Scott Werner to the

United States District Court for the Eastern District of Michigan, by filing of this

Notice of Removal with the Clerk of the United States District Court for the

Eastern District of Michigan. As grounds for removal, Mr. Werner states as

follows:

         1.   Andersen & Associates, Inc. is a Michigan corporation with its principal

place of business in Michigan. See Complaint at ¶2, attached as Exhibit A. It is a

citizen of the State of Michigan. 28 U.S.C. 1332(c)(1).




03236439 v1
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20           PageID.2    Page 2 of 31




         2.   Scott Werner is domiciled in and is a citizen of the State of Florida. See

Complaint at ¶3.

         3.   The Complaint seeks injunctive relief, the monetary value of which

exceeds $75,000, exclusive of interest and costs.

         4.   This action is removable pursuant to 28 U.S.C. § 1441(b), because it is a

civil action between citizens of different states and the amount in controversy

exceeds $75,000.

         5.   Copies of the summons and other state court papers are Exhibit B.

                                        Respectfully submitted,

                                        MADDIN HAUSER ROTH
                                         & HELLER, P.C.

                                        /s/ Kathleen H. Klaus
                                        Kathleen H. Klaus
                                        Attorneys for Scott Werner
                                        28400 Northwestern Highway, 3rd Floor
                                        Southfield, MI 48034
                                        (248) 359-7520
                                        P67207
                                        kklaus@maddinhauser.com
Dated: March 16, 2020




03236439 v1
                                           2
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.3   Page 3 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.4   Page 4 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.5   Page 5 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.6   Page 6 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.7   Page 7 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.8   Page 8 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.9   Page 9 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.10   Page 10 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.11   Page 11 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.12   Page 12 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.13   Page 13 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.14   Page 14 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.15   Page 15 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.16   Page 16 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.17   Page 17 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.18   Page 18 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.19   Page 19 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.20   Page 20 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.21   Page 21 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.22   Page 22 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.23   Page 23 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.24   Page 24 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.25   Page 25 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.26   Page 26 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.27   Page 27 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.28   Page 28 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.29   Page 29 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.30   Page 30 of 31
Case 2:20-cv-10702-GAD-DRG ECF No. 1 filed 03/16/20   PageID.31   Page 31 of 31
